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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                      CR 1:14-122

JOSEPH BATTAGLIA




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      D. Brooks K. Hudson, having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT D. Brooks K. Hudson be granted leave

of absence for the following period: June 3, 2015 through June 5, 2015 and

August 20, 2015 through August 21, 2015.

      This AJclavof May. 2015.




                                         HONORABLE J. RANDAL HALL
                                        ^United^gtates District Judge
                                         Southern District of Georgia
